Case 2:20-cv-01634-GMN-BNW Document 16
                                    15 Filed 09/29/21
                                             09/28/21 Page 1 of 3




                              Order
                  IT IS ORDERED that ECF No. 15
                  is DENIED as moot. Defendants
                  have already accepted service.
                  See ECF No. 14.
                         IT IS SO ORDERED
                         DATED: 9:32 am, September 29, 2021



                         BRENDA WEKSLER
                         UNITED STATES MAGISTRATE JUDGE
Case 2:20-cv-01634-GMN-BNW Document 16
                                    15 Filed 09/29/21
                                             09/28/21 Page 2 of 3
Case 2:20-cv-01634-GMN-BNW Document 16
                                    15 Filed 09/29/21
                                             09/28/21 Page 3 of 3
